                          Case 8:18-bk-06468-RCT                         Doc 29
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[Dntccnrh] [District Notice Cancelling or Rescheduling Hearing or Conference (BK)]
                                                 UNITED STATES BANKRUPTCY COURT
                                                    MIDDLE DISTRICT OF FLORIDA
                                                          TAMPA DIVISION



In re:                                                                                      Case No. 8:18−bk−06468−RCT
                                                                                            Chapter 7
Carmen Santana



________Debtor*________/

                                                   NOTICE OF RESCHEDULED HEARING


               NOTICE IS GIVEN THAT the hearing regarding Motion to Sell Property Free and Clear of
           Liens. Property description: 6251 − 66th Avenue North, Pinellas Park, Florida. (I) approve a short
           sale of real property free and clear of liens, claims, encumbrances, and interests pursuant to 11 U.S.C.
           363(b), (f), and (m), (II) surcharge agreement between secured lender and the estate, and (III) other
           relief (6251 − 66th Avenue North, Pinellas Park, Florida; and Notice of Hearing , (Document No. 26)
           filed by Trustee Douglas N Menchise, originally scheduled for January 9, 2019 at 10:00 AM, has
           been rescheduled .

           The hearing has been rescheduled and will be held on January 29, 2019 at 10:00 AM in Courtroom
           9B, Sam M. Gibbons United States Courthouse, 801 N. Florida Ave., Tampa, FL 33602.

           Avoid delays. You are reminded that Local Rule 5073−1 restricts the entry of cellular telephones
           and, except in Orlando, computers into the Courthouse absent a specific order of authorization issued
           beforehand by the presiding judge, a valid Florida Bar identification card, or pro hac vice order.
           Please take notice that as an additional security measure a photo ID is required for entry into the
           Courthouse.




                                                             FOR THE COURT
           Dated: January 4, 2019                            Sheryl L. Loesch , Clerk of Court
                                                             Sam M. Gibbons United States Courthouse
                                                             801 North Florida Avenue, Suite 555
                                                             Tampa, FL 33602


           The Clerk's office is directed to serve a copy of this notice on interested parties.



           *All references to "Debtor" shall include and refer to both debtors in a case filed jointly by two
           individuals.
